Case 1:23-cv-03394-RER-JRC Document 30 Filed 04/26/24 Page 1 of 1 PageID #: 361
                                                                            Kaplan Fox & Kilsheimer LLP
                                                                                         800 Third Avenue
                                                                                     New York, NY 10022
                                                                                     Phone: 212.687.1980
                                                                                        Fax: 212.687.7714
                                                                           Email: jstrauss@kaplanfox.com
                                                                                       www.kaplanfox.com

                                           April 26, 2024

 Via CM/ECF
 Hon. Magistrate Judge James R. Cho
 U.S. District Court, Eastern District of New York
 Courtroom: 11 D South
 225 Cadman Plaza East
 Brooklyn, New York 11201

          Re:    Dajlani et al. v. Baby Generation, Inc.; Case No. 1:23-cv-03394-RER-JRC
                 Request for Extension of Time to File Joint Status Report

 Dear Magistrate Judge Cho:

 When the Parties last appeared before the Court on April 1, 2024 for a conference concerning
 Defendant’s motion to dismiss and certain discovery matters, Your Honor ordered, among other
 things, that the parties meet and confer concerning the discovery issues and file a Joint Status
 Report by May 1, 2024. (Minute Entry, April 1, 2024)
 Given the observance of the Passover holiday by certain counsel (which concludes on April 30,
 2024), as well as the Parties continued dialogue concerning the discovery matters at issue, I hereby
 respectfully request, with the consent and agreement of Defense Counsel, a one week extension of
 until and including May 8, 2024 for the Parties to file their Joint Status Report.
 This is the first request for an extension of time to file the Joint Status Report. Moreover, the
 granting of this request shall not impact any other scheduled Court deadlines.


                                               Respectfully submitted,
                                               /s/ Joel B. Strauss
                                               Joel B. Strauss
                                               Counsel for Plaintiffs



 cc:      Defense Counsel (via CM/ECF)




       NEW YORK, NY                        LOS ANGELES, CA                           OAKLAND, CA

                         MORRISTOWN, NJ                          CHICAGO, IL
